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14   and OTTOMOTTO LLC

15                               UNITED STATES DISTRICT COURT
16                            NORTHERN DISTRICT OF CALIFORNIA
17                                     SAN FRANCISCO DIVISION
18   WAYMO LLC,                                          Case No.      3:17-cv-00939-WHA
19                        Plaintiff,                     DECLARATION OF MICHELLE
                                                         YANG IN SUPPORT OF
20          v.                                           DEFENDANTS’ ADMINISTRATIVE
                                                         MOTION TO FILE UNDER SEAL
21   UBER TECHNOLOGIES, INC.,                            THEIR OPPOSITION TO WAYMO’S
     OTTOMOTTO LLC; OTTO TRUCKING LLC,                   MOTION TO COMPEL
22                                                       PRODUCTION OF DOCUMENTS
                          Defendants.                    AND RESPONSES TO EXPEDITED
23                                                       INTERROGATORIES AND
                                                         EXHIBITS THERETO
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 1          I, Michelle Yang, declare as follows:

 2          1.      I am an attorney at the law firm of Morrison & Foerster LLP. I make this

 3   declaration based upon matters within my own personal knowledge and if called as a witness, I

 4   could and would competently testify to the matters set forth herein. I make this declaration in

 5   support of Defendants’ Administrative Motion to File Under Seal Their Opposition to Waymo’s

 6   Motion to Compel Production of Documents and Responses to Expedited Interrogatories and

 7   Exhibits Thereto.

 8          2.      I have reviewed the following documents and confirmed that only the portions

 9   identified below merit sealing:

10
     Document                          Portions to Be Filed Under Seal          Designating Party
11
     Opposition to Waymo’s                  Highlighted Portions             Defendants (blue/yellow)
12   Motion to Compel                                                            Plaintiff (green)
     (“Opposition”)
13

14   Exhibit 3                                Entire Document                        Plaintiff

15   Exhibit 4                              Highlighted Portions                    Defendants

16   Exhibit 5                              Highlighted Portions                    Defendants

17   Exhibit 6                              Highlighted Portions                    Defendants
18   Exhibit 7                              Highlighted Portions                    Defendants
19
            3.      Some of Defendants’ highlighted portions in the Opposition identify specific
20
     software modules described in highly confidential Disclosure Schedules to the Put Call
21
     Agreement (Dkt. 515-11). These Disclosure Schedules were filed entirely under seal, and the
22
     Court granted sealing at Dkt. 707. Here, the identification of software modules reveals technical
23
     features developed by Ottomotto LLC and acquired by Uber. This highly confidential
24
     information is not publicly known, and their confidentiality is strictly maintained. I understand
25
     that this information could be used by competitors or counterparties to Uber’s detriment,
26
     including to gain an advantage over Uber in development strategy. For example, disclosure of
27
     Uber and Ottomotto’s LiDAR-related technical features would allow competitors to understand
28

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 1   Uber’s LiDAR development and strategy, and allow them to tailor their own LiDAR

 2   development. If such information were made public, I understand Uber’s competitive standing

 3   could be significantly harmed.

 4          4.      In addition, some of Defendants’ highlighted portions in the Opposition contain

 5   highly confidential and sensitive business information regarding financial, compensation, and

 6   employment terms. This information is not publicly known, and their confidentiality is strictly

 7   maintained. I understand that this information could be used by competitors to Uber’s detriment,

 8   by using this information to gain an advantage over Uber in employment negotiations in a

 9   competitive market for talent. Disclosure of this information would allow competitors to tailor

10   their employment offers during negotiations. If such information were made public, I understand

11   Uber’s competitive standing could be significantly harmed.

12          5.      I understand that the green-highlighted portions of the Opposition, as well as the

13   entirety of Exhibit 3, contain technical information that has been designated by Waymo as either

14   confidential or highly confidential.

15          6.      The highlighted portions on pages 3-4 of Exhibit 4 contain highly confidential

16   information regarding business agreement terms, including detailed information about the

17   structure, timing, and funding of a business agreement. These portions refer directly to highly

18   confidential parts of an acquisition agreement that this Court recently ordered sealed (Dkt. 707).

19   In addition, the highlighted portions on pages 5-8 of Exhibit 4 contain highly confidential

20   information directly referring to a separate business agreement, which this Court recently ordered

21   sealed in its entirety (Dkt. 707). This highly confidential information is not publicly known, and

22   their confidentiality is strictly maintained. If this information were to be released to the public,

23   Defendants’ competitors and counterparties would have insight to Defendants’ negotiation

24   strategy and business agreement terms, which would allow them to tailor their own business

25   negotiation strategy. Defendants’ competitive standing could significantly be harmed.

26          7.      The highlighted portions in Exhibit 5 contain highly confidential information

27   regarding the employment and compensation terms of Anthony Levandowski. This information

28   is not publicly known, and their confidentiality is strictly maintained. I understand that this

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 1   information could be used by competitors to Uber’s detriment, by using this information to gain

 2   an advantage over Uber in employment negotiations in a competitive market for talent.

 3   Disclosure of this information would allow competitors to tailor their employment offers during

 4   negotiations. If such information were made public, I understand Uber’s competitive standing

 5   could be significantly harmed.

 6          8.      The highlighted portions of Exhibit 6 is a deposition transcript excerpt that

 7   contains confidential information referring to delivery terms in a business agreement with Mr.

 8   Levandowski. This highly confidential information is not publicly known, and its confidentiality

 9   is strictly maintained. If this information were to be released to the public, competitors could

10   gain insight to Uber’s LiDAR development strategy, particularly with respect to delivery terms,

11   and Uber’s competitive standing could be significantly harmed.

12          9.      The highlighted portions of Exhibit 7 contain information regarding the identity of

13   a confidential third party vendor for Uber’s LiDAR, which is subject to a non-disclosure

14   agreement. Defendants are contractually bound to maintain the confidentiality of this third

15   party’s identity. I understand that this information could be used by Uber’s competitors to obtain

16   an advantage in understanding Uber’s work with LiDAR and allow them to tailor their own

17   LiDAR development strategy.

18          10.     Defendants’ request to seal is narrowly tailored to the specific exhibits attached to

19   Defendants’ Motion to Compel that merit sealing.

20          I declare under penalty of perjury that the foregoing is true and correct. Executed this

21   27th day of June, 2017 in Washington, D.C.

22
                                                                   /s/ Michelle Yang
23                                                                     Michelle Yang
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 1                               ATTESTATION OF E-FILED SIGNATURE

 2          I, Arturo J. González, am the ECF User whose ID and password are being used to file this

 3   Declaration. In compliance with General Order 45, X.B., I hereby attest that Michelle Yang has

 4   concurred in this filing.

 5
     Dated: June 27, 2017                                    /s/ Arturo J. González
 6                                                               Arturo J. González

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